                                     Case 3:16-bk-03761-JAF                         Doc 56          Filed 07/26/18               Page 1 of 12




1A
 /2009
 /2011
 101-7-TFR
 3ems Inc.
                                                           UNITED STATES BANKRUPTCY COURT
                                                             MIDDLE DISTRICT OF FLORIDA


                   In Re:                                                                          §
                                                                                                   §
                   ROBERTS, MARCUS L.                                                              §           Case No. 16-03761 3F7
                                                                                                   §
                                                                 Debtor                            §

                                                                TRUSTEE’S FINAL REPORT (TFR)

                              The undersigned trustee hereby makes this Final Report and states as follows:

                          1. A petition under chapter 7 of the United States Bankruptcy Code was filed on
                    10/12/2016 . The undersigned trustee was appointed on 10/12/2016 .

                              2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                           3. All scheduled and known assets of the estate have been reduced to cash, released to
                   the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
                   pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
                   disposition of all property of the estate is attached as Exhibit A.

                              4. The trustee realized gross receipts of                                             $                 4,780.00

                                                     Funds were disbursed in the following amounts:

                                                     Payments made under an interim                                                          0.00
                                                     disbursement
                                                     Administrative expenses                                                               2.62
                                                     Bank service fees                                                                   225.00
                                                     Other payments to creditors                                                           0.00
                                                     Non-estate funds paid to 3rd Parties                                                  0.00
                                                     Exemptions paid to the debtor                                                         0.00
                                                     Other payments to the debtor                                                          0.00
                                                                                               1
                                                     Leaving a balance on hand of                                   $                 4,552.38

                    The remaining funds are available for distribution.


             ____________________
                        1
                           The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
             will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
             maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
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             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.

             6. The deadline for filing non-governmental claims in this case was 02/21/2017 and the
      deadline for filing governmental claims was 04/10/2017 . All claims of each class which will
      receive a distribution have been examined and any objections to the allowance of claims have
      been resolved. If applicable, a claims analysis, explaining why payment on any claim is not
      being made, is attached as Exhibit C.

                 7. The Trustee’s proposed distribution is attached as Exhibit D.

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $ 1,195.00 . To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.

             The trustee has received $ 0.00 as interim compensation and now requests a sum of
      $ 1,195.00 , for a total compensation of $ 1,195.00 2. In addition, the trustee received
      reimbursement for reasonable and necessary expenses in the amount of $ 0.00 , and now requests
      reimbursement for expenses of $ 216.70 , for total expenses of $ 216.70 2.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.


      Date: 07/06/2018                                     By:/s/GORDON P. JONES, TRUSTEE
                                                               Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




____________________
           2
            If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

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                                                            Case 3:16-bk-03761-JAF                         DocForm
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                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                            Page:       1
                                                                                               ASSET CASES                                                                                                             Exhibit A
Case No:             16-03761       3F7    Judge: JERRY A. FUNK                                                                                 Trustee Name:                     GORDON P. JONES, TRUSTEE
Case Name:           ROBERTS, MARCUS L.                                                                                                        Date Filed (f) or Converted (c):   10/12/16 (f)
                                                                                                                                               341(a) Meeting Date:               11/22/16
For Period Ending: 07/06/18                                                                                                                    Claims Bar Date:                   02/21/17



                                       1                                                    2                            3                          4                         5                                   6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                 Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by               Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

 1. 5607 RAINEY AVE S., ORANGE PARK, FL                                                   135,742.00                                0.00                                               0.00                     FA
 2. 1434 W 24TH ST., JACKSONVILLE, FL                                                      30,000.00                                0.00           OA                                  0.00                     FA
 3. 406 W 19TH ST., JACKSONVILLE, FL                                                       38,000.00                                0.00           OA                                  0.00                     FA
 4. 2016 HYUNDAI SANTE FE                                                                  22,000.00                                0.00                                               0.00                     FA
 5. 2006 FORD F150 (2/1/17 N - D #40)                                                        1,800.00                          3,600.00                                            3,600.00                     FA
 6. CLOTHING                                                                                     50.00                              0.00                                               0.00                     FA
 7. WEDDING RING AND WATCH                                                                       35.00                              0.00                                               0.00                     FA
 8. USAA CHECKING ACCOUNT                                                                        32.84                              0.00                                               0.00                     FA
 9. NAVY FEDERAL CU CHECKING ACCOUNT                                                            320.00                              0.00                                               0.00                     FA
 10. NAVY FEDERAL CU SAVINGS ACCOUNT                                                             27.89                              0.00                                               0.00                     FA
 11. VYSTAR CU SAVINGS ACCOUNT                                                                  127.24                              0.00                                               0.00                     FA
 12. LAWN MOWER, GARDEN AND HAND TOOL ETC                                                       250.00                              0.00                                               0.00                     FA
 13. 1662 OAKHURST AVE., JACKSONVILLE, FL                                                  48,000.00                                0.00           OA                                  0.00                     FA
 14. FRAUDULENT CONVEYANCE (u)                                                              Unknown                                 0.00                                               0.00                     FA
     (SALE OF DOLPHIN MOTORHOME)
 15. 2016 FEDERAL INCOME TAX REFUND (u)                                                     Unknown                            1,180.00                                            1,180.00                     FA

                                                                                                                                                                                                 Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                       $276,384.97                          $4,780.00                                           $4,780.00                            $0.00
                                                                                                                                                                                                 (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   10/14/16 - NON-HOMESTEAD LETTER TO DEBTOR REGARDING PROPERTY AT 1662 OAKHURST AVENUE, JACKSONVILLE, FL
   10/14/16 - NON-HOMESTEAD LETTER TO DEBTOR REGARDING PROPERTY AT 1434 W 24TH ST, JACKSONVILLE, FL.




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                                                            Case 3:16-bk-03761-JAF                  DocForm
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                                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                  Page:      2
                                                                                          ASSET CASES                                                                                   Exhibit A
Case No:            16-03761       3F7    Judge: JERRY A. FUNK                                                           Trustee Name:                      GORDON P. JONES, TRUSTEE
Case Name:          ROBERTS, MARCUS L.                                                                                   Date Filed (f) or Converted (c):   10/12/16 (f)
                                                                                                                         341(a) Meeting Date:               11/22/16
                                                                                                                         Claims Bar Date:                   02/21/17
   10/14/16 - NON-HOMESTEAD LETTER TO DEBTOR REGARDING PROPERTY AT 406 W 19TH ST., JACKSONVILLE, FL.
   10/17/16 - LETTER TO DUVAL COUNTY CLERK REQUESTING RECORDATION OF THREE (3) NOTICE OF INTEREST WITH CHECK FOR $81.00.
   10/21/16 - APPLICATION TO EMPLOY EUGENE JOHNSON AS ATTORNEY (docket #6).
   10/21/16 - ORDER EMPLOYING EUGENE JOHNSON AS ATTORNEY FOR THE ESTATE (docket #7) (POS 10).
   11/02/16 - RECEIPT OF NOTICE OF INTEREST (3) RECORDED IN DUVAL COUNTY, FLORIDA.
   11/17/16 - APPLICATION TO EMPLOY NAJI HASSAN AS REAL ESTATE AGENT FOR ESTATE (docket #13).
   11/17/16 - EMAIL TO NAJI HASSAN.
   11/17/16 - MOTION FOR DETERMINATION THAT PERSONAL PROPERTY (2016 HYUNDAI) IS OF CONSEQUENTIAL VALUE (docket #14).
   11/18/16 - ORDER EMPLOYING NAJI HASSAN AS REAL ESTATE AGENT (docket #15) (POS 16).
   11/22/16 - RECEIPT OF DEBTOR'S OBJECTION TO MOTION DETERMINE CONSEQUENTIAL VALUE (docket #18).
   12/14/16 - RESPONSE TO FEDERAL NATIONAL MORTGAGE'S MOTION FOR RELIEF FROM STAY (docket #25).
   12/15/16 - NOTICE OF RULE 2004 SCHEDULED FOR 1/12/17 @ 1:00 P.M. FILED BY EUGENE JOHNSON (docket #26).
   12/15/16 - MOTION FOR TURNOVER FILED BY EUGENE JOHNSON (docket #27).
   12/15/16 - OBJECTION TO EXEMPTIONS FILED BY EUGENE JOHNSON (docket #28).
   12/15/16 - NOTICE OF HEARING ON OBJECTION TO EXEMPTIONS AND MOTION FOR TURNOVER SCHEDULED FOR 1/18/17 @ 1:30 P.M. FILED
   BY EUGENE JOHNSON (docket #29).
   12/15/16 - NOTICE OF HEARING ON FEDERAL NATIONAL MORTGAGE'S MOTION RELIEF FROM STAY SCHEDULED FOR 1/17/17 @ 10:00 A.M.
   (docket #30).
   01/10/17 - NOTICE OF EUGENE JOHNSON'S RESCHEDULED RULE 2004 SCHEDULED FOR 1/19/17@ 2:30 P.M. (DOCKET #32).
   01/20/17 - RECEIPT OF EUGENE JOHSON'S EMAIL TO NAJI HASSAN REQUESTING HIM TO CLOSE HIS FILE ON THIS CASE.
   01/20/17 - RECEIPT OF EMAIL FROM EUGENE JOHNSON ADVISING SETTLEMENT OF $3,600 OVER 12 MONTHS.
   01/20/17 - NOTICE OF ABANDONMENT (REAL PROPERTIES) (DOCKET #36).
   02/03/17 - ORDER GRANTING TURNOVER (2016 TAX REFUND AND $3,600 @ $300 MO BEG 3/15/17) (DOCKET #42).
   02/20/17 - WITHDRAWAL OF MOTION DETERMINE CONSEQUENTIAL VALUE FILED BY EUGENE JOHNSON (DOCKET #45).
   03/08/17 - CLAIMS EXAMINED, OBJECTIONS TO BE FILED.
   05/08/17 - OBJECTION TO CLAIM 2 (DOCKET #47).
   07/07/17 - ORDER ON CLAIM 2 ENTERED (DOCKET #48).
   02/27/18 - REPORT OF SALE COMPLETION (DOCKET #51).
   05/30/18 - WITHDRAWAL OF OBJECTION TO EXEMPTIONS FILED BY EUGENE JOHNSON (DOCKET #53).
   06/28/18 - RECEIPT OF EUGENE JOHNSON'S FEE APPLICATION (DOCKET #54).


   Initial Projected Date of Final Report (TFR): 02/01/18       Current Projected Date of Final Report (TFR): 08/01/18




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                                                                                   56 1 Filed 07/26/18     Page 5 of 12
                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                       Page:      3
                                                                                ASSET CASES                                                                        Exhibit A
Case No:            16-03761      3F7   Judge: JERRY A. FUNK                                        Trustee Name:                      GORDON P. JONES, TRUSTEE
Case Name:          ROBERTS, MARCUS L.                                                              Date Filed (f) or Converted (c):   10/12/16 (f)
                                                                                                    341(a) Meeting Date:               11/22/16
                                                                                                    Claims Bar Date:                   02/21/17




LFORM1   UST Form 101-7-TFR (5/1/2011) (Page: 5)                                                                                                                          Ver: 20.00j
                                                        Case 3:16-bk-03761-JAF             Doc 56            Filed 07/26/18     Page 6 of 12
                                                                                                FORM 2                                                                                        Page:     1
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                         Exhibit B
  Case No:             16-03761 -3F7                                                                                      Trustee Name:                      GORDON P. JONES, TRUSTEE
  Case Name:           ROBERTS, MARCUS L.                                                                                 Bank Name:                         UNION BANK
                                                                                                                          Account Number / CD #:             *******2970 Checking - Non Interest
  Taxpayer ID No:    *******1584
  For Period Ending: 07/06/18                                                                                             Blanket Bond (per case limit):     $ 23,516,752.00
                                                                                                                          Separate Bond (if applicable):


           1              2                              3                                               4                                            5                        6                   7
    Transaction       Check or                                                                                                   Uniform                                                     Account / CD
       Date           Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)       Balance ($)
                                                                                  BALANCE FORWARD                                                                                                           0.00
          02/27/17       15        MARCUS L. ROBERTS                              TURNOVER OF TAX REFUND                        1224-000                   1,180.00                                    1,180.00
                                   5607 RAINEY AVE. S.
                                   ORANGE PARK, FL 32065
          02/27/17        5        MARCUS L. ROBERTS                              PER 2/1/17 NOTICE - DOCKET 40                 1129-000                    300.00                                     1,480.00
                                   5607 RAINEY AVE. S.
                                   ORANGE PARK, FL 32065
          04/14/17        5        MARCUS L. ROBERTS                              PER 2/1/17 NOTICE - DOCKET 40                 1129-000                    300.00                                     1,780.00
                                   5607 RAINEY AVE. S.
                                   ORANGE PARK, FL 32065
          04/25/17                 UNION BANK                                     BANK SERVICE FEE                              2600-000                                           15.00               1,765.00
          05/12/17        5        MARCUS L. ROBERTS                              PER 2/1/17 NOTIC E- DOCKET 40                 1129-000                    300.00                                     2,065.00
                                   5607 RAINEY AVE. S.
                                   ORANGE PARK, FL 32065
          05/25/17                 UNION BANK                                     BANK SERVICE FEE                              2600-000                                           15.00               2,050.00
          06/06/17        5        MARCUS L. ROBERTS                              PER 2/1/17 NOTICE - DOCKET #40                1129-000                    300.00                                     2,350.00
                                   5607 RAINEY AVE. S.
                                   ORANGE PARK, FL 32065
          06/26/17                 UNION BANK                                     BANK SERVICE FEE                              2600-000                                           15.00               2,335.00
          07/05/17        5        MARCUS L. ROBERTS                              PER 2/1/17 NOTICE D#40                        1129-000                    300.00                                     2,635.00
                                   5607 RAINEY AVE. S.
                                   ORANGE PARK, FL 32065
          07/25/17                 UNION BANK                                     BANK SERVICE FEE                              2600-000                                           15.00               2,620.00
          08/03/17        5        MARCUS L. ROBERTS                              PER 2/1/17 NOTIC E- DOCKET 40                 1129-000                    300.00                                     2,920.00
                                   5607 RAINEY AVE. S.
                                   ORANGE PARK, FL 32065
          08/25/17                 UNION BANK                                     BANK SERVICE FEE                              2600-000                                           15.00               2,905.00
          09/13/17        5        MARCUS L. ROBERTS                              PER 2/1/17 NOTICE - DOCKET 40                 1129-000                    300.00                                     3,205.00
                                   5607 RAINEY AVE. S.


                                                                                                                          Page Subtotals                   3,280.00                 75.00
          UST Form 101-7-TFR (5/1/2011) (Page: 6)                                                                                                                                                      Ver: 20.00j
LFORM24
                                                        Case 3:16-bk-03761-JAF             Doc 56            Filed 07/26/18     Page 7 of 12
                                                                                                FORM 2                                                                                        Page:     2
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                         Exhibit B
  Case No:             16-03761 -3F7                                                                                      Trustee Name:                      GORDON P. JONES, TRUSTEE
  Case Name:           ROBERTS, MARCUS L.                                                                                 Bank Name:                         UNION BANK
                                                                                                                          Account Number / CD #:             *******2970 Checking - Non Interest
  Taxpayer ID No:    *******1584
  For Period Ending: 07/06/18                                                                                             Blanket Bond (per case limit):     $ 23,516,752.00
                                                                                                                          Separate Bond (if applicable):


           1              2                              3                                               4                                            5                        6                   7
    Transaction       Check or                                                                                                   Uniform                                                     Account / CD
       Date           Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)       Balance ($)
                                   ORANGE PARK, FL 32065
          09/25/17                 UNION BANK                                     BANK SERVICE FEE                              2600-000                                           15.00               3,190.00
          10/05/17        5        MARCUS L. ROBERTS                              PER 2/1/17 NOTICE - DOCKET 40                 1129-000                    300.00                                     3,490.00
                                   5607 RAINEY AVE. S.
                                   ORANGE PARK, FL 32065
          10/25/17                 UNION BANK                                     BANK SERVICE FEE                              2600-000                                           15.00               3,475.00
          11/07/17        5        MARCUS L. ROBERTS                              PER 2/1/17 NOTICE - DOCKET 40                 1129-000                    300.00                                     3,775.00
                                   5607 RAINEY AVE. S.
                                   ORANGE PARK, FL 32065
          11/27/17                 UNION BANK                                     BANK SERVICE FEE                              2600-000                                           15.00               3,760.00
          12/04/17        5        MARCUS L. ROBERTS                              PER 2/1/17 NOTICE - DOCKET 40                 1129-000                    300.00                                     4,060.00
                                   5607 RAINEY AVE. S.
                                   ORANGE PARK, FL 32065
          12/26/17                 UNION BANK                                     BANK SERVICE FEE                              2600-000                                           15.00               4,045.00
          01/04/18        5        MARCUS L. ROBERTS                              PER 2/1/17 NOTICE - DOCKET 40                 1129-000                    300.00                                     4,345.00
                                   5607 RAINEY AVE. S.
                                   ORANGE PARK, FL 32065
          01/25/18                 UNION BANK                                     BANK SERVICE FEE                              2600-000                                           15.00               4,330.00
          02/05/18        5        MARCUS L. ROBERTS                              PER 2/1/17 NOTICE - DOCKET 40                 1129-000                    300.00                                     4,630.00
                                   5607 RAINEY AVE. S.
                                   ORANGE PARK, FL 32065
          02/26/18                 UNION BANK                                     BANK SERVICE FEE                              2600-000                                           15.00               4,615.00
          03/19/18                 INTERNATIONAL SURETIES, LTD.                   BOND # 016027985                              2300-000                                            2.62               4,612.38
                                   SUITE 420
                                   701 POYDRAS ST.
                                   NEW ORLEANS, LA 70139
          03/26/18                 UNION BANK                                     BANK SERVICE FEE                              2600-000                                           15.00               4,597.38
          04/25/18                 UNION BANK                                     BANK SERVICE FEE                              2600-000                                           15.00               4,582.38
          05/25/18                 UNION BANK                                     BANK SERVICE FEE                              2600-000                                           15.00               4,567.38


                                                                                                                          Page Subtotals                   1,500.00                137.62
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                                                                                              FORM 2                                                                                                    Page:      3
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                    Exhibit B
  Case No:             16-03761 -3F7                                                                                       Trustee Name:                       GORDON P. JONES, TRUSTEE
  Case Name:           ROBERTS, MARCUS L.                                                                                  Bank Name:                          UNION BANK
                                                                                                                           Account Number / CD #:              *******2970 Checking - Non Interest
  Taxpayer ID No:    *******1584
  For Period Ending: 07/06/18                                                                                              Blanket Bond (per case limit):      $ 23,516,752.00
                                                                                                                           Separate Bond (if applicable):


           1              2                              3                                             4                                                 5                          6                         7
    Transaction       Check or                                                                                                    Uniform                                                               Account / CD
       Date           Reference                Paid To / Received From                     Description Of Transaction            Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)
          06/25/18                 UNION BANK                                     BANK SERVICE FEE                               2600-000                                                 15.00                   4,552.38

                                                                                                       COLUMN TOTALS                                         4,780.00                    227.62                    4,552.38
                                                                                                           Less: Bank Transfers/CD's                             0.00                      0.00
                                                                                                       Subtotal                                              4,780.00                    227.62
                                                                                                           Less: Payments to Debtors                                                       0.00
                                                                                                       Net
                                                                                                                                                             4,780.00                    227.62
                                                                                                                                                                               NET                             ACCOUNT
                                                                                                       TOTAL - ALL ACCOUNTS                      NET DEPOSITS             DISBURSEMENTS                        BALANCE
                                                                                                  Checking - Non Interest - ********2970                    4,780.00                      227.62                   4,552.38
                                                                                                                                               ------------------------    ------------------------   ------------------------
                                                                                                                                                            4,780.00                      227.62                   4,552.38
                                                                                                                                               ==============             ==============              ==============
                                                                                                                                                (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                           Transfers)               To Debtors)                    On Hand




                                                                                                                           Page Subtotals                        0.00                       15.00
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                                                                         EXHIBIT C
 Page 1                                                                                                                                Date: July 06, 2018
                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      16-03761                                           Claim Class Sequence
 Debtor Name:      ROBERTS, MARCUS L.


Code #              Creditor Name & Address         Claim Class      Notes                     Amount Allowed          Paid to Date       Claim Balance

               EUGENE H JOHNSON                     Administrative                                    $1,222.50               $0.00             $1,222.50
001            JOHNSON LAW FIRM P.A.
3210-00        100 N. LAURA STREET, SUITE 701
               JACKSONVILLE, FL 32202

               EUGENE H JOHNSON                     Administrative                                     $106.11                $0.00               $106.11
001            JOHNSON LAW FIRM P.A.
3220-00        100 N. LAURA STREET, SUITE 701
               JACKSONVILLE, FL 32202



000002         Navy Federal Credit Union            Secured                                              $0.00                $0.00                  $0.00
050            Bankruptcy Department                  DISALLOWED PER ORDER - DOCKET #48
4110-00        820 Follin Lane
               Vienna, VA 22180



000001         Navy Federal Credit Union            Unsecured                                         $3,042.81               $0.00             $3,042.81
070            PO Box 3000
7100-00        Merrifield, VA 22119

000003         Synchrony Bank                      Unsecured                                          $7,921.33               $0.00             $7,921.33
070            c/o PRA Receivables Management, LLC
7100-00        PO Box 41021
               Norfolk VA 23541



                  Case Totals:                                                                      $12,292.75                $0.00            $12,292.75
 Code #: Trustee's Claim Number, Priority Code, Claim Type




CREGISTRUST   Form 101-7-TFR (5/1/2011) (Page: 9)                                                                 Printed: 07/06/18 02:49 PM   Ver: 20.00j
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                                           TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                         Exhibit D

     Case No.: 16-03761 3F7
     Case Name: ROBERTS, MARCUS L.
     Trustee Name: GORDON P. JONES, TRUSTEE
                         Balance on hand                                              $                  4,552.38

               Claims of secured creditors will be paid as follows:


                                                             NONE


               Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                          Interim Payments Proposed
                         Reason/Applicant              Total Requested    to Date          Payment
      Trustee Fees: GORDON P. JONES,
      TRUSTEE                                         $         1,195.00 $                0.00 $         1,195.00
      Trustee Expenses: GORDON P. JONES,
      TRUSTEE                                         $           216.70 $                0.00 $          216.70
      Attorney for Trustee Fees: EUGENE H
      JOHNSON                                         $         1,222.50 $                0.00 $         1,222.50
      Attorney for Trustee Expenses: EUGENE H
      JOHNSON                                 $                   106.11 $                0.00 $          106.11
                 Total to be paid for chapter 7 administrative expenses               $                  2,740.31
                 Remaining Balance                                                    $                  1,812.07


               Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                             NONE


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 0.00 must be paid in advance of any dividend to general (unsecured) creditors.




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                    Case 3:16-bk-03761-JAF           Doc 56     Filed 07/26/18      Page 11 of 12




                 Allowed priority claims are:


                                                             NONE


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 10,964.14 have been allowed and will
     be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 16.5 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                       Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                     of Claim             to Date          Payment
     000001               Navy Federal Credit Union $          3,042.81 $              0.00 $            502.89
     000003               Synchrony Bank             $         7,921.33 $              0.00 $          1,309.18
                 Total to be paid to timely general unsecured creditors               $                1,812.07
                 Remaining Balance                                                    $                     0.00




             Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent.

                 Tardily filed general (unsecured) claims are as follows:


                                                             NONE




            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent.




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            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:


                                                         NONE




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